968 F.2d 1226
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Hugo ZUCCARELLI, Plaintiff-Appellant,andAlicia Zuccarelli;  Rin Tin N.V. and Zuccarelli Holophonics,Inc., Plaintiffs,v.Ken CAILLAT;  Brian Adams;  Tom Jones;  Spherical Sound,Inc.;  David Elston;  Mitchell Benott and Does 1through 100, inclusive, Defendants-Appellees.
    No. 91-1384.
    United States Court of Appeals, Federal Circuit.
    May 8, 1992.
    
      Before NIES, Chief Judge, SKELTON, Senior Judge, and LOURIE, Circuit Judge.
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  See Fed.Cir.R. 36.
    
    